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                    EXHIBIT C
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From:                                           Joseph Sharp
Sent:                                           Monday, December 21, 2020 3:16 PM
To:                                             Bowler, John M. (john.bowler@troutman.com); 'Hobbs, Michael D.'; 'Henner, Lindsay
                                                Mitchell'
Subject:                                        Keenan's Kids Foundation, Inc. v. Claggett: Discovery Responses
Attachments:                                    12.21.2020 Letter to Counsel re Discovery Responses-c.pdf


Please see the attached letter.
Thanks. Joe

Joseph Sharp
Shareholder

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                                                                                                                Joseph C. Sharp
       December 21, 2020                                                                                        404.253.6028
                                                                                                                404.601.4964 Fax
                                                                                                                jsharp@polsinelli.com
       VIA E-MAIL


       John M. Bowler
       Michael D. Hobbs Jr.
       Lindsay Mitchell Henner
       TROUTMAN PEPPER HAMILTON SANDERS LLP
       600 Peachtree Street, NE, Suite 3000
       Atlanta, Georgia 30308-2216

                      Re:             Keenan’s Kids Foundation, Inc. v. Sean Claggett, United States District
                                      Court, Northern District of Georgia, Atlanta Division, Civil Action File
                                      No. 1:20-cv-01702-WMR: Deficient Discovery Responses

       Dear Counsel:

                     We are in receipt of Plaintiff’s Responses and Objections to Defendant’s First Set of

       Requests for Production of Documents to Plaintiff (“Responses”). Plaintiff’s Responses violate

       Judge Ray’s Standing Order and the Federal Rules of Civil Procedure and do not reflect the

       requisite good faith parties are obligated to exercise in responding to discovery requests. Therefore,

       the purpose of this correspondence is to attempt to resolve a discovery dispute, and as explained

       below, we request that Plaintiff amend and supplement its deficient responses, withdraw all

       improper objections and produce responsive documents.

                                                                 Boilerplate Objections

                     Plaintiff repeatedly objects that a Request is vague and ambiguous, burdensome, overly

       broad, or protected by some kind privilege without further explanation. Judge Ray’s Standing

       Order and the FRCP, however, prohibit boilerplate and general objections in response to discovery


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requests.1

       “Parties should not carelessly invoke the usual litany of rote objections, i.e., attorney-client

privilege, work-product immunity from discovery, overly broad/unduly burdensome, irrelevant,

not reasonably calculated to lead to the discovery of admissible evidence.” Moreover, “each

individual discovery request must be met with every specific objection thereto—but only those

objections that actually apply to that particular request.”2 Otherwise, “[a]ll such general objections

shall be disregarded by the Court.”3

       As you know, a “court may impose as a sanction the waiver of privilege for cases of

unjustifiable delay, inexcusable conduct, and bad faith in responding to discovery requests by

improperly withholding documents on the basis of privilege, and failing to provide an adequate

privilege log in compliance with Rule 26.4 Unjustifiable delay, inexcusable conduct, and bad faith

by Plaintiff all seem to be at play here.

       The incessant inclusion of boilerplate objections, as perpetrated by Plaintiff, unnecessarily

clouds the discovery process and “invites dispute and disagreement by needlessly sowing doubt”



1
  Endurance Am. Speciality Ins. Co. v. Quran Bolder Mgmt., LLC, No. 1:18-CV-04008-LMM,
2018 U.S. Dist. LEXIS 230766, at *14 (N.D. Ga. Aug. 27, 2018).
2
  Id.
3
  Id.
4
  Meade v. Gen. Motors, LLC, 250 F. Supp. 3d 1387, 1393 (N.D. Ga. 2017) (citing Jones v. Am.
Gen. Life & Accident Ins. Co., No. CV 101-003, 2002 U.S. Dist. LEXIS 29488, at *7-9 (S.D. Ga.
Dec. 4, 2002).
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concerning production and responses.5 Every response that Plaintiff has served upon Defendant

has, in some form, an improper objection. Defendant requests that Plaintiff withdrawal its

boilerplate objections and assert only proper specific objections to the individual Requests.

                                          “Any and All”

       Plaintiff often objects, such as in its responses to Request Nos. 1-2, 19, 21-26, 32-37, 39,

41-43, 45-69, and 79, to Defendant’s use of the terms “all documents” and “any and all documents”

as “overly broad and impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A)

because [they do] not specifically describe with reasonable particularity the information that is

being requested and is not proportional and tailored specifically to the claims or defenses in this

case.” To support its objections, Plaintiff cites Gropper v. David Ellis Real Estate, L.P.6, while

quoting the court as “finding that a request for any and all documents…is inherently overbroad.”7

Plaintiff quotes this New York case 75 times. Yet, the federal courts in Georgia and the 11th Circuit

Court of Appeals have not followed Gropper. To the contrary, federal courts in Georgia repeatedly

allow discovery that requests “any and all” documents.8


5
  Williams v. Taser Int'l, Inc., No. 1:06-CV-0051-RWS, 2007 U.S. Dist. LEXIS 40280, at *9 (N.D.
Ga. June 4, 2007).
6
  No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014).
7
  Pl.’s Resps.
8
  Chellis v. Fleet Capital Corp., No. 1:04-CV-1072-CAP, 2006 U.S. Dist. LEXIS 110383, at *16
(N.D. Ga. July 17, 2006) (finding that “plaintiff seeks production of any and all documents...[t]he
court finds that this request is unambiguous and seeks information reasonably calculated to lead
to admissible discovery[,]” and the motion to compel was granted); Se. Mech. Servs. v. Brody, No.
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       Defendant’s Requests are reasonably calculated to lead to discoverable information and

designed to unearth relevant information, e.g., what are the purported trade secrets which remain

a mystery to Defendant. Defendant does not seek documents that are wholly unrelated to the

claims or defenses of this case or documents that would be cost prohibitive or oppressive for

Plaintiff to gather and produce. Indeed, Plaintiff asserts misappropriation of trade secrets, and

among other things, Plaintiff should have, readily accessible, documents identifying, reflecting

and discussing the purported voir dire trade secrets. Plaintiff’s “any and all” objections should be

withdrawn.

                                    Reasonable Particularity

       Plaintiff objects to Request Nos. 1-12, 16, 19-37, 39, 41-80, and 86-87 on the grounds that

they are “overly broad and impermissible under Fed. R. Civ. P. 26(b) and Fed. R. Civ. P.

34(b)(1)(A) because [they do] not specifically describe with reasonable particularity the

information that is being requested and is not proportional and tailored specifically to the claims

or defenses in this case.” Plaintiff’s objections are not meaningful. When discussing reasonable

particularity, the 11th Circuit Court of Appeals dictated that such matters “should be tailored to

the issues involved in the particular case.”9 Every Request propounded by Defendant is tailored


1:09-CV-0086-GET-SSC, 2009 U.S. Dist. LEXIS 93903, at *12-14 (N.D. Ga. June 22, 2009)
(upon a motion to compel, the court ordering a party to amend its response to a request to produce
“any and all”).
9
  West v. City of Albany, No. 19-11418, 2020 U.S. App. LEXIS 31417, at *8 (11th Cir. Oct. 2,
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to the issues involved in this case. Further, for Defendant to meet the reasonable particularity

standard of FRCP 34, he “simply must identify the materials more specifically than “all.”10 All of

Defendant’s Requests appropriately describe the requested documents.

                        Protective Order and Proportionality Balancing

       Plaintiff makes several baseless objections, such as in its responses to Request Nos. 13-15,

and then responds that it will not produce the requested documents “except pursuant to a Protective

Order entered by the Court.” On November 19, 2020, we provided comments to the draft

protective order Plaintiff proposed.      If Defendant’s suggested changes are acceptable, the

protective order should be submitted to the Court. If Plaintiff does not agree with Defendant’s

suggested changes to the proposed protective order, Plaintiff can submit the issues to the Court for

resolution. In any event, given that Defendant will agree that when appropriate, documents can be

designated “confidential,” entry of a protective order should not preclude production, i.e., Plaintiff

can designate documents as “confidential” and produce them, and we can address any issues

regarding the validity of the designations after the Court enters a protective order.

       Plaintiff further objects that certain Requests are “not proportional to the needs of this trade

secret case, considering the importance of the issues at stake in the action, the amount in


2020) (quotations omitted) (quoting Washington v. Brown & Williamson Tobacco Corp., 959 F.2d
1566, 1570 (11th Cir. 1992)).
10
   Strickland v. Tristar Prods., No. CV416-051, 2017 U.S. Dist. LEXIS 103597, at *3 (S.D. Ga.
July 5, 2017) (citing FRCP 34).
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controversy, the parties’ relative access to relevant information, the parties’ resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit.”11 However, a party seeking to resist discovery

on grounds that proposed discovery is not proportional to the needs of a case bears the burden of

making specific objections and showing that the discovery fails the proportionality calculation by

offering specific information.12 Plaintiff does not attempt to show how Defendant’s Requests fail

the proportionality calculation. Plaintiff only offers run-of-the-mill unspecific objections. Such

objections should be withdrawn.

                               Lack of Vagueness and Ambiguity

       The United States District Court for the Northern District of Georgia, Atlanta Division said

it best: “Merely stating that a discovery request is vague or ambiguous, without specifically stating

how it is so, is not a legitimate objection to discovery.”13 Plaintiff objects to the phrase “related

techniques” as used in Request No. 103 as vague, ambiguous, and undefined – objections that it

also raise in other instances. The term “related techniques” does not need to be defined because

the term is clear on its face. Clearly, “related techniques” applies to and is based upon the term


11
   Pl.’s Resps.
12
   Herrera-Velazquez v. Plantation Sweets, Inc., No. CV614-127, 2016 U.S. Dist. LEXIS 4956, at
*10 n.6 (S.D. Ga. Jan. 14, 2016) (citing Carr v. State Farm Mut. Auto. Ins., 312 F.R.D. 459, 468
(N.D. Tex. 2015)).
13
   United States CFTC v. Am. Derivatives Corp., No. 1:05-CV-2492-RWS, 2007 U.S. Dist. LEXIS
23681, at *8-9 (N.D. Ga. Mar. 30, 2007) (citing Panola Land Buyers Asso., 762 F.2d at 1559.
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that proceeds it – voir dire. Plaintiff claims that trade secret voir dire techniques were

misappropriated by Defendant. Context matters.14 Considering the context of the entire Request,

Plaintiff cannot legitimately claim it does not know what is meant by the term “related techniques.”

                  Lack of Annoyance, Harassment, and Fishing Expedition

       Plaintiff often claims, such as in its responses to Request Nos. 17-18, 26-29, 44, 73-81, and

88-103, that Defendant’s Requests are “calculated to annoy and harass the Foundation, and

Claggett is merely trying to engage in a fishing expedition.” Plaintiff, however, repeatedly fails

to specify how the Requests are not relevant. Plaintiff’s desire to avoid production of certain

requested documents does not make such Requests, by virtue of them being disfavored by Plaintiff,

calculated to annoy or harass Plaintiff or a fishing expedition. As previously discussed, rote

objections without meaningful explanation are improper, and such objections should be

withdrawn.

             Creating New Documents vs. Searching for /Providing Existing Data

       Plaintiff in response to Request Nos. 17-18, 26-29, and 84-85 objects that “Rule 34 of the

Federal Rules of Civil Procedure does not require a party to create a document where none exist.”15

Plaintiff also repeatedly objects based on the extent that a Request demands that Plaintiff “create


14
   See In re Latch, 820 F.2d 1163, 1165 (11th Cir. 1987) (finding that interrogatories taken out of
context may have appeared ambiguous but, when placed in the context of the record as a whole,
contained meanings that were undeniably established).
15
   Pl.’s Resps.
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a responsive list or document” for Defendant.16 The terms document and documents are

“synonymous in meaning and equal in scope to the documents and electronically stored

information identified in Fed. R. Civ. P. 34(a), and include writings, drawings, graphs, charts,

photographs, sound recordings, images, and other data or data compilations, stored in any medium

from which information can be obtained either directly or, if necessary, after translation into a

reasonably usable form through detection devices.”17

       Plaintiff may not have the “documents” that Defendant seeks but Plaintiff most likely has

the data that Defendant seeks. A court would be strained to believe that a “foundation” – which

offers, as Plaintiff claims in its Complaint, “world-class educational curriculums” and instruction

– would not maintain data on its courses, participants, and instructors. To properly respond to

Defendant’s Requests, Plaintiff does not need to “create new documents,” but instead only needs

to search for and compile the data in its possession.

       There is a difference between creating data and producing data that already exists.18 There

is a difference between creating data and searching existing data.19 Plaintiff makes no claim of


16
   Id.
17
   FTC ex rel. Conway v. Direct Connection Consulting, Inc., No. 108-CV-1739, 2008 U.S. Dist.
LEXIS 129785, at *4-5 (N.D. Ga. May 14, 2008).
18
   In re Domestic Air Transp. Antitrust Litig., 142 F.R.D. 354, 357 n.4 (N.D. Ga. 1992) (in response
to argument that the court cannot require Defendants to coerce the witness to create a document
that is not already in existence, the court declared that Defendants would merely be required to
request that the witness order a copy of the transcript of testimony).
19
   Double Eagle Club v. Genovese, No. CV 117-073, 2019 U.S. Dist. LEXIS 84835, at *15 (S.D.
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even attempting to search for the data that Defendant seeks. Thus, all such “document creation”

objections are improper. Defendant requests that Plaintiff search for and/or produce the documents

(including data) that Defendant seeks.

            Attorney-client Privilege, Work Product Doctrine, or Other Privileges

        Plaintiff objects, such as in its responses to Request Nos. 69-72, 81-86, and 113, by stating

that it resists production to the extent the Requests seek documents “protected by the attorney-

client privilege, attorney work product doctrine, or any other applicable privilege.”20 Defendant

is entitled to any and all such documents unless Plaintiff can “meet [its] burden of establishing that

a privilege or the work-product doctrine exempts these documents from discovery.”21 Plaintiff

has not provided a privilege log, which meaningfully describes the nature of the undisclosed

communications in a manner that allows Defendant and the court to evaluate the claimed

privileges.22


Ga. Apr. 4, 2019) (Defendant argued that Rule 34 did not require the creation of new documents
and that the document creation would be difficult and too costly, and the court explained that
searching existing data is not the same as creating new documents and required Defendant to
produce existing data without need for creating data new) (citing Mervyn v. Atlas Van Lines, Inc.,
Case No. 13 C 3587, 2015 U.S. Dist. LEXIS 144376, 2015 WL 12826474, at *6-7 (N.D. Ill. Oct.
23, 2015)).
20
   Pl.’s Resps.
21
   Republic of Ecuador v. Hinchee, 741 F.3d 1185, 1189 (11th Cir. 2013) (citing United States v.
Schaltenbrand, 930 F.2d 1554, 1562 (11th Cir. 1991)) (“holding that ‘the party seeking to assert
the attorney-client privilege or the work-product doctrine as a bar to discovery has the burden of
establishing that either or both is applicable’”).
22
   Johnson v. Gross, 611 F. App'x 544, 547-48 (11th Cir. 2015) (quoting In re Grand Jury
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                              Recordings in Plaintiff’s Possession

       Plaintiff objects to Request Nos. 86-87 on the grounds that “the audio and/or video

recordings documents responsive to [the Requests] if they exist are already in Mr. Claggett’s

possession and the Foundation should not be required to produce them because Mr. Claggett can

obtain such audio and/or video recordings from a source that is more convenient, less burdensome,

and expensive.”23 These objections are blatantly improper.

       Defendant is entitled to discover what Plaintiff claims is a trade secret, when it claims a

purported trade secret was misappropriated, and the manner in which Plaintiff claims the trade

secret was improperly disclosed, including the presentations by Defendant that Plaintiff asserts

reflect disclosure of a purported trade secret. Defendant is not required to speculate as to which

presentations Plaintiff contends were improper. Defendant is therefore entitled to obtain all the

responsive recordings and other relevant documents in Plaintiff’s possession regardless of whether

any of these recordings may be in Defendant’s possession or available from other sources.

Moreover, Plaintiff should have evidence in its possession supporting its allegations and be able

to easily produce any such recordings.




Subpoena, 274 F.3d 563, 576 (1st Cir. 2001) (“A party that fails to submit a privilege log is deemed
to waive the underlying privilege claim.”) (quotations omitted).
23
   Pl.’s Resps.
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                                      Reasonable Time Periods

        Plaintiff objects to “the absence of a time frame in Request No. 30 as overly broad and

unduly burdensome given that the Foundation was founded over twenty-plus years ago and would

require a search over a period of decades for articles or blogs Don Keenan has written or been

quoted in regarding, discussing, referring to, relating to, and/or describing any aspect of voir dire,

including those disseminated to the Keenan Trial Blog, to ascertain whether or not those blogs,

etc. even related to the specific trade secrets being asserted in this lawsuit.”24 Plaintiff also objects

to Request No. 103 stating that the lack of a time period, if literally construed, is overbroad and

unduly burdensome and “would require the Foundation to review every video and audio recording

potentially over the course of decades to ascertain if the video or audio recording discusses voir

dire, related, techniques or the specific trade secrets at issue in this case.”25

        Plaintiff has been disseminating educational information to the public for many years and

is now claiming that Defendant misappropriated confidential information and trade secret

materials regarding voir dire.26      Defendant is entitled to discover what voir dire techniques

Plaintiff claims are trade secrets, and obtain any and all documents which may prove or disprove

whether the alleged information is confidential and a trade secret and whether the alleged trade



24
   Id.
25
   Id.
26
   See Complaint.
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secrets are indeed secret. The requests are not overbroad, and in light of its claims, it is certainly

not unduly burdensome for Plaintiff to search for and produce voir dire related documents.

       Additionally, Plaintiff objects to Defendant’s Request Nos. 104-09 for documents spanning

the last 10 years.27 Plaintiff’s also objects that Request No. 109 is not proportional to the needs of

the trade secret case, inter alia, and that the demand for identities of certain persons over a time

period that long far exceeds “Claggett’s time role [sic] as a student and instructor” and is untethered

to this action.28 Defendant met Don Keenan in 2011 or 2012. Defendant has participated, as a

student, instructor, and/or dean, in many seminars, trainings, and/or classes sponsored by, hosted

by, propagated by, funded by, and/or led by Don Keenan.29 Given the length of the relationship

between Plaintiff and Defendant, a ten year time period is more than reasonable.

                 Likely Leading to Discoverable Information/Relevance
 (Organizational Charts and Identification of Employees, Instructors, Board of Directors,
                                  and Other Persons)

       Plaintiff objects to Request Nos. 106-08, one of which seeks production of the Keenan

Trial Institute’s organizational charts for the last 10 years. Plaintiff states that it is “specifically

calculated to annoy and harass the Foundation as well as persons who are not likely to have

discoverable information and whom the Foundation may not use to supports [sic] its claims, and



27
   Pl.’s Resps.
28
   Id.
29
   Complaint.
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Claggett is merely trying to engage in a fishing expedition.”30 Again, Plaintiff fails to explain, as

required by law and already thoroughly discussed, how such a Request is specifically calculated

to annoy or harass Plaintiff.

        FRCP 26 defines the scope of discovery as follows: Parties may obtain discovery regarding

any nonprivileged matter that is relevant to any party’s claim or defense...Information within this

scope of discovery need not be admissible in evidence to be discoverable.31 Further, Defendant

reminds Plaintiff that: “An important function of the discovery rules is to provide for the open

disclosure of all potentially relevant information.”32 Thus, the scope of discovery in general, and

in this specific case, is broad.

        Plaintiff claims that Defendant was an instructor for the Keenan Trial Institute, teaching

various components of its curriculum; that Defendant participated as a student in multiple

seminars; and that Defendant has misappropriated, utilized, and disclosed confidential information

and trade secrets. Defendant seeks to defend himself against such allegations. The organizational

chart would identify individuals, who, among other things, would potentially have intimate

knowledge of Plaintiff’s alleged confidential information and trade secrets and would potentially



30
   Id.
31
   (emphasis added).
32
   Howell v. Phx. Life Ins. Co., No. 1:07-CV-14-JTC, 2009 U.S. Dist. LEXIS 138046, at *4 (N.D.
Ga. May 27, 2009) (quotations omitted) (quoting Donovan v. Lynn's Food Stores, Inc., No. 181-
169., 1981 U.S. Dist. LEXIS 17619, at *4 (S.D. Ga. Dec. 21, 1981)).
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possess knowledge as to how the information may or may not have been misused as Plaintiff

alleges.

       Whether Plaintiff intends to “use” the persons identified in its organizational chart to

support its claims is irrelevant and not a valid basis for objection. As you know, Plaintiff does not

have to intend to use a potential witness for information about the witness to be discoverable. As

explained above, FRCP 26 grants wide latitude for any party to seek production of any

nonprivileged matter for any party’s claim or defense. Defendant seeks production of the non-

privileged organizational charts for use in his developing evidence, e.g., witness identification. As

such, Defendant’s Requests are proper.

       Further, Plaintiff makes an objection to Defendant’s Request No. 109, similar to its

objection to Request No. 108, stating that Request No. 109 is overbroad, duplicative of earlier

requests, and that “the identities of all such employees, officers, directors and instructors is [sic]

not relevant, germane, or competent to the issues in this case.” Again, the preceding discussion

explains why Plaintiff’s objection is improper.

       Plaintiff also makes more improper relevance objections, such as in its responses to

Requests No. 17-18, 27, 73-83, and 88-103, which seek production of documents to identify

students and instructors, i.e., more witnesses. Once again, as explained above, such objections

are improper.

       Put simply, Defendant is entitled to discover the identities of potential witnesses.
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           Employee Handbooks, Policies and Procedures, and Board of Directors’ Minutes

            Plaintiff objects to Request No. 104 stating that production of all employee handbooks for

the past 10 years would require Plaintiff to speculate as to what employee handbooks might be

responsive to the Request.33 Not true. Plaintiff does not have to speculate about which employee

handbooks to produce as the Request seeks production of all employee handbooks. These

handbooks bear directly on whether there were appropriate measures in place to protect the

purported trade secrets, e.g., did the handbooks discuss confidentiality.

            Plaintiff also objects to producing policies and procedures in Request No. 105 and the

board of directors’ minutes sought in Request Nos. 81-83. How Plaintiff managed or mismanaged

the withholding of alleged confidential information and the guarding of alleged trade secrets, and

whether Plaintiff’s board of directors approved the instant lawsuit and/or discussed trade secrets

are relevant and clearly within the scope of discovery.

            Plaintiff further objects to Request No. 102, which seeks production of marketing and

promotional materials, including advertisements and brochures. Obviously, whether the alleged

trade secrets were widely and freely disseminated via mediums such as marketing materials is

relevant and within the scope of discovery.




33
     Id.
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                             Within the Ordinary Scope of Discovery

          Plaintiff on many occasions, such as in its responses to Request Nos. 104-115, states that

“there is no good reason to go beyond the ordinary scope of discovery under Rule 26(b).”34 Along

with almost every other objection that Plaintiff makes, this objection is improper and does not

explain how Defendant’s Requests go beyond the ordinary scope of discovery. The ordinary scope

of discovery, within which Defendant seeks production, is addressed in the above discussion.

                        Balloon Press Agreements and Other Agreements

          Plaintiff objects to Request No. 112 stating that “payments to this nonparty publication

company [, Balloon Press,] has no tendency to make the existence of any fact that is of

consequence to the determination of this trade secret action against Claggett more probable than it

would otherwise be without the evidence.”35 Again, Plaintiff does not explain how production

of such documents would fail to make a fact of consequence regarding the trade secret action more

or less probable. To the contrary, Balloon Press published, for the general public, books written

by Don Keenan and David Ball which may contain some of the alleged confidential information

and trade secrets that Plaintiff claims Defendant misappropriated. Defendant’s understanding of

any and all agreements between Plaintiff and Balloon Press is warranted, proper, and relevant.

          Plaintiff also objects, such as in its responses to Request Nos. 44, 73-78, 80, and 110, to


34
     Pl.’s Resps.
35
     Id.
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Defendant’s requests for production of agreements. As the forgoing discussion shows, these

objections are also improper.

                                Payments to New Frontier Air, LLC

        Plaintiff objects to Request No. 111, in which Defendant seeks any and all – “any and all”

has already been addressed – documents that reflect any and all payments from Plaintiff to New

Frontier Air, LLC from 2015 through the present.36 Plaintiff decries disproportionality and that

the Request is not reasonably related to any claim or defense in this trade secret action.37 To the

contrary, this Request is squarely relevant to claims in this action, claims that Plaintiff makes in

its Complaint regarding its purpose, 501(c)(3) status, educational activities, and financial and/or

philanthropic activities, inter alia.

        Plaintiff is essentially claiming that Defendant’s alleged misappropriation of Plaintiff’s

confidential information and trade secret materials is causing Plaintiff harm, such as financial harm

to its ability to carry out its philanthropic activities for kids.38 Planes are not needed for “clothing

drives, feeding the homeless, children’s events, and fundraisers like the Murphy House Project.”

Funds would not be squandered on luxury travel if indeed Defendant was truly causing financial

harm to Plaintiff’s ability to help kids and feed the homeless. Any claim that Plaintiff makes in



36
   Id.
37
   Id.
38
   See Complaint.
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its Complaint is fair game in discovery.39

       Plaintiff is seeking monetary damages, including actual damages, disgorgement,

imposition of royalties, and special damages including attorney’s fees, exemplary damages, and

legal costs, interest, and fees.40 And the 11th Circuit Court of Appeals has reiterated as recent as

this year that FRCP 26 allows discovery that is relevant to any party’s claim or defense.41 Plaintiff

does not get to decide for which claims or which defenses Defendant chooses to seek discovery.

Defendant can seek discovery of documents relevant to any claim or any defense of any party.42

Thus, Defendant is entitled to the production of documents that may prove or disprove Plaintiff’s

claim of financial harm and its assertions that its primary purpose is charity.

                                 Payments to Keenan Law Firm

       Plaintiff objects to Defendant’s Request No. 113 for “‘any and all documents’ reflecting,

referring to, or relating to any payments over the last five years from Plaintiff to the Keenan Law

Firm.”43 As discussed above, Plaintiff claims that Defendant’s alleged misappropriation of


39
   See Martinez v. Rycars Constr., LLC, No. CV410-049, 2010 U.S. Dist. LEXIS 142998, at *2-3
(S.D. Ga. Dec. 2, 2010) (finding that past and present actions that evidenced drug use was relevant
to claims for mental anguish and pain and suffering, and thus “fair game” for discovery).
40
   Complaint.
41
   Jordan v. Comm'r, Miss. Dep't of Corr., 947 F.3d 1322, 1329 (11th Cir. 2020); also Consorcio
Ecuatoriano de Telecomunicaciones S.A. v. JAS Forwarding (USA), Inc., 747 F.3d 1262, 1272
(11th Cir. 2014) (citing Weber v. Finker, 554 F.3d 1379, 1385 (11th Cir. 2009); In re Ford Motor
Co., 345 F.3d 1315, 1316 (11th Cir. 2003).
42
   See FRCP 26.
43
   Pl.’s Resps.
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Plaintiff’s confidential information and trade secrets is causing Plaintiff harm, such as financial

harm to Plaintiff’s ability to carry out its philanthropic activities for kids.44 Also, Plaintiff claims

that the Keenan Law Firm specializes in cases involving children, including injury, medical

malpractice, and wrongful death.45

       Unless Plaintiff has been responsible for and/or needs defense against claims for injury to

kids, the wrongful death of kids, or some other harm to kids, or unless Plaintiff has been

responsible for prosecuting the injury or wrongful death claims of kids, Plaintiff’s payments to the

Keenan Law Firm are suspect. Such activities call into question the veracity of the any alleged

financial injury that Plaintiff claims. Funds would not be squandered on payments to a law firm,

which is disconnected from Plaintiff’s operations, if indeed Defendant was truly causing financial

harm to Plaintiff’s ability to help kids and feed the homeless. Once again, the allegations and

claims that Plaintiff makes in its Complaint are fair game in discovery.46

                    Payments to David Ball and the Murphy House Project

       Plaintiff objects to Request Nos. 114-15, which request documents regarding payments to

David Ball and the Murphy House Project. These objections, as almost every other objection made



44
   See Complaint.
45
   Id.
46
   See Martinez, No. CV410-049, 2010 U.S. Dist. LEXIS 142998, at *2-3 (finding that past and
present actions that evidenced drug use was relevant to claims for mental anguish and pain and
suffering, and thus “fair game” for discovery).
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throughout Plaintiff’s responses, are improper. The discussion above regarding payments to New

Frontier Air, LLC and the Keenan Law Firm shows that the objections are without merit.

       Plaintiff also objects to Request Nos. 88-96 and 99-101, which seeks production of

documents     regarding      financial   statements,   compensation,   monies     expended,   and

auditing/accounting personnel. As explained above, Defendants are entitled to discover

information related to Plaintiff’s damages, including financial documents and the identity of

individuals who may have information regarding Plaintiff’s financial condition.

       As the foregoing discussion shows, Plaintiff’s Responses violate the letter and spirit of

Judge Ray’s Standing Order and the Federal Rules of Civil Procedure. We therefore request that

Plaintiff amend its Responses by withdrawing the improper objections, and stating whether it

possesses responsive documents and will produce the responsive documents; produce responsive

documents; and provide an appropriate privilege log of any documents which are being withheld

on the basis of privilege.

       We request that you provide a response to this correspondence on or before December 29,

2020. After we receive the response, we will be available to discuss further as appropriate and

necessary.

                                               Sincerely,

                                               /s/ Joseph C. Sharp
                                               Joseph C. Sharp
